In re Delphi Corporation, et al.
                                                  05-44481-rdd               Doc 9692-9             Filed 09/28/07 Entered 09/28/07 16:40:29                                Exhibit E-2
                                                                                                             Pg 1 of 1                                                                   Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-2 - TAX CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                     CLAIM AS MODIFIED

Claim: 9709
                                                   Claim Holder Name and Address
Date Filed: 07/18/2006
Docketed Total:   $1,541.53                        NEW YORK STATE DEPARTMENT                         Docketed Total:                   $1,541.53   NEW YORK STATE DEPARTMENT             Modified Total:            $1,541.53
Filing Creditor Name and Address:                  OF TAXATION AND FINANCE                                                                         OF TAXATION AND FINANCE
  NEW YORK STATE                                   PO BOX 5300                                                                                     PO BOX 5300
  DEPARTMENT OF TAXATION                           ALBANY, NY 12205-0300                                                                           ALBANY, NY 12205-0300
  AND FINANCE
  PO BOX 5300                                     Case Number*                     Secured             Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
  ALBANY, NY 12205-0300                           05-44623                              $1,341.53                                        $200.00   05-44623                                                         $1,541.53

                                                                                        $1,341.53                                        $200.00                                                                    $1,541.53


                                                                                                                                                        Total Claims to be Modified: 1
                                                                                                                                                        Total Amount as Docketed:         $1,541.53
                                                                                                                                                        Total Amount as Modified:         $1,541.53




*See Exhibit G for a listing of debtor entities by case number.
                                                                                                                   Page 1 of 1
*UNL stands for unliquidated
